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                        UNITED STATES DISTRICT COURT FOR THE
                              DISTRICT OF CONNECTICUT


JACK MONTAGUE,
     Plaintiff,

v.
                                                          CIVIL ACTION
YALE UNIVERSITY, ANGELA GLEASON,                          No. 3:16-cv-00885-AVC
JASON KILLHEFFER, and OTHERS
UNKNOWN,
     Defendants.



      MOTION FOR FURTHER EXTENSION OF TIME TO OPPOSE SUMMARY
                            JUDGMENT

       The plaintiff, Jack Montague, respectfully moves, pursuant to Rule 7(b) of the Local

Civil Rules, for an additional one week extension of time, through and including July 19, 2018,

within which to file his Opposition to Defendants’ Motion for Summary Judgment (ECF No.

142). As reasons therefore, Plaintiff states:

       1.      Defendants’ counsel has indicated that Defendants do not object to the requested

extension.

       2.      Good cause exists to grant the extension. As Defendants’ acknowledge in their

memorandum in support of their Motion for Summary Judgment, the record in the case is

voluminous. Despite diligent efforts, additional time is required to allow Plaintiff to adequately

respond to Defendants’ 55-page memorandum and accompanying L.R. 56 statement of facts. In

addition, the preparation of exhibits which will accompany Plaintiff’s opposition requires

significant lead time given the number of redactions that must be made to deposition transcripts

and other exhibits to protect the privacy of the complainant and other students involved.
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       3.     This is Plaintiff’s third request for an extension of the deadline to file his

Oppositions to Defendants’ Motion for Summary Judgment.

       WHEREFORE, Plaintiff respectfully requests that the Court grant this motion for an

additional one week extension of time, through and including July 19, 2018, within which to file

an Opposition to Defendants’ Motion for Summary Judgment (ECF No. 142).



                                              JACK MONTAGUE,


                                              By his attorneys,


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Dated: July 10, 2018




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                           CERTIFICATE OF SERVICE

I, Christian G. Kiely, hereby certify that this document filed through the ECF system will be
sent electronically to the registered participants as identified on the Notice of Electronic
Filing (NEF) on July 10, 2018.

                                             /s/ Christian G. Kiely




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